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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF VIRGINIA

                              Alexandria Division

     UNITED STATES OF AMERICA,          )
                                        )
                                        )
                v.                      )     1:13cr222 (JCC)
                                        )
     KENIA Y. VERGES, et al.,           )
                                        )
           Defendants.                  )

                     M E M O R A N D U M     O P I N I O N

              This matter came before the Court on January 31, 2014,

for oral argument on Defendant Alicia Rivera’s (“Rivera” or

“Defendant”) Motion to Suppress, [Dkt. 37], and Motion to Sever,

[Dkt. 38].      At the conclusion of the hearing, the Court denied

both motions.        This memorandum is intended to memorialize and

explain these rulings.

                                 I. Background

              This criminal action stems from Defendant’s alleged

involvement in a conspiracy to import heroin in violation of 21

U.S.C. §§ 952(a), 960(a)(1), and 963. 1          (Superseding Indictment

[Dkt. 15] at 1.)         The Government claims that Defendant, along

with her daughter and co-defendant Kenia Verges (“Verges”),

acted as couriers to smuggle heroin into the United States from

Guatemala.      (Id. at 4.)     On July 24, 2010, Defendant allegedly

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   The facts alleged herein are either uncontested or supported by testimony
from the Government’s witness at the suppression hearing, Michael Honicker.
The Court found his testimony credible and sufficient to reach the findings
below.

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returned to the United States from Guatemala carrying a

detectable amount of heroin secreted in foodstuffs.           (Id.)   The

indictment further alleges that Verges performed a similar

smuggling trip in March 2011.       (Id. at 5.)

           On November 5, 2011, Verges arrived at Logan Airport

following a three-week stay in the Dominican Republic.           (Gov’t

Opp’n [Dkt. 41] at 3.)      Customs and Border Protection agents

inspected Verges’s luggage and interviewed her regarding her

trips to the Dominican Republic and Guatemala.          (Id.)   Verges

made a series of statements to the officers regarding her

travels.   (Id.)   In response to a question concerning her trip

to Guatemala in March 2011, Verges stated that Defendant had

paid for her airline tickets.       (Id.)

           On March 6, 2013, Special Agent Michael Honicker of

Homeland Security Investigations and Special Agent Houston Smith

of the Drug Enforcement Agency traveled to Defendant’s home to

interview her and Verges regarding their travels to Guatemala

and serve them with target letters.         (Gov’t Opp’n at 3-4.)     When

they arrived, the agents identified themselves, presented their

credentials, and explained to Defendant that they wanted to

speak with her regarding her travels outside the United States.

(Id.)   Defendant opened the front door and permitted the agents

to enter the living room.      (Id. at 4.)     Verges joined shortly

thereafter and the agents again identified themselves, presented

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their credentials, and explained that they wished to discuss

their travels to Guatemala.      (Id.)    Verges notified the agents

that Defendant did not speak English, but she offered to

translate their questions.      (Id.)

           Agent Honicker explained that this was a non-custodial

interview in which they were not under arrest.          (Gov’t Opp’n at

4.)   He further made clear that they did not have to speak with

the agents, and they were free to ask them to leave at any time.

(Id.)   Defendant and Verges stated that they understood and

agreed to speak with them.      (Id.)

           Agent Honicker then explained that Defendant and

Verges were the targets of a federal drug smuggling

investigation.    (Gov’t Opp’n at 4.)      Agent Honicker stated that

he knew an unidentified co-conspirator had paid them thousands

of dollars to smuggle heroin from Guatemala.         (Id.)     Agent

Honicker told Defendant that he knew she traveled to Guatemala

with her son and smuggled the contraband in her luggage.            (Id.)

Defendant did not deny anything and simply stated that her son

did nothing wrong.     (Id. at 5.)    Defendant then informed agents

that she no longer wished to speak with them.          (Id.)    Agent

Honicker provided Defendant with a target letter, which Verges

read aloud in Spanish, and Defendant completed a financial

affidavit.   (Id.)    Defendant then exited the living room.           (Id.)



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            After Defendant left, Verges stated that the purpose

of her trip to Guatemala was to perform marriage fraud.           (Gov’t

Opp’n at 5.)    Agent Honicker reiterated that he had been

investigating Verges for months and there was strong evidence

she was involved in a conspiracy to import heroin.          (Id.)

Verges then stated that she did not wish to speak with the

agents any longer.     (Id.)   Agent Honicker provided Verges with a

target letter and she signed a financial affidavit.           (Id.)   The

agents then left the residence.       (Id.)

            Within a few minutes of their departure, Verges called

Agent Honicker and indicated she would like to speak with him

with an attorney present.      (Gov’t Opp’n at 5.)      Agent Honicker

explained that her attorney should contact the U.S. Attorney’s

office listed in the target letter.         (Id. at 5-6.)

            During the evening of March 6, 2013, Agent Honicker

received a voicemail from a man identifying himself as Matt

Smith and claiming that he was the attorney for both Defendant

and Verges.    (Gov’t Opp’n at 6.)       Smith left two telephone

numbers and indicated that he had contacted the U.S. Attorney

listed in the target letter.       (Id.)    Smith was never heard from

again despite numerous attempts to contact him at the numbers

provided.    (Id.)

            On May 16, 2013, a federal grand jury indicted Verges

on a single charge of conspiracy to import heroin.          (Indictment

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[Dkt. 1] at 1.)     She was subsequently arrested at Logan Airport.

(Gov’t Opp’n at 6.)

            On November 13, 2013, a superseding indictment was

issued charging Defendant as a co-conspirator along with Verges.

(Superseding Indictment at 1.)       Defendant was arrested at her

home on December 2, 2013.       (Gov’t Opp’n at 6.)     At the time of

her arrest, Defendant was advised of her Miranda rights in

Spanish.    (Id. at 7.)     Defendant acknowledged that she

understood her rights and that she was under arrest.           (Id.)

Special Agent Brendan Hickey, who is fluent in Spanish, reviewed

a Spanish Miranda form with Defendant.        (Id.)    Defendant signed

the form and waived her right to remain silent.          (Id.)

            Agent Honicker, through Agent Hickey, then posed

several questions to Defendant.       (Gov’t Opp’n at 7.)      Defendant

claimed that she traveled to Guatemala in July 2010 to see a man

named Maurilio.     (Id.)    Defendant could not recall his last name

and stated that she met this man a year prior while out having

drinks.    (Id.)   Defendant affirmed that she did not have his

contact information and her only interaction with him was in

person.    (Id.)   Defendant stated that she stayed with an

acquaintance for eight days while in Guatemala but could not

recall where the residence was located or who else lived there.

(Id.)   Defendant further claimed that the purpose of the trip



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was to check the schools in Guatemala in anticipation of

relocating there.     (Id.)

           Defendant was appointed counsel and appeared for

arraignment on December 13, 2013.         Defendant pled not guilty and

requested a jury trial.       (Arraignment Mins. [Dkt. 32] at 1.)

Defendant’s trial is currently scheduled for February 19, 2014.

(Id.)

           Presently before the Court is Defendant’s Motion to

Sever and Motion to Suppress.       In her Motion to Sever, Defendant

claims that a joint trial would infringe upon her confrontation

rights as set forth in Bruton v. United States, 891 U.S. 123

(1968), because Verges made statements implicating Defendant in

the alleged conspiracy.       (Mot. to Sever at 2-3.)     Accordingly,

Defendant requests a separate trial.         (Id.)   Defendant’s Motion

to Suppress, in turn, asks the Court to preclude all statements

made when the agents first interviewed Defendant at her home on

March 2, 2013, and all statements made following her arrest on

December 2, 2013.     (Mot. to Suppress at 2-4.)       Defendant

maintains that both instances of questioning were improper under

the Fourth and Fifth Amendments.         (Id.)

           The Government filed its opposition on January 24,

2014, contesting both of Defendant’s arguments.          (Gov’t Opp’n at

1.)   Defendant’s motions are now before the Court.



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                              II. Analysis

     A. Motion to Sever

           The Court will first address Defendant’s Motion to

Sever, which requests that she be tried separately from her co-

defendant, Verges.     (Mot. to Sever at 2.)      In support of her

motion, Defendant argues that the admission of Verges’s pre-

arrest statement that Defendant paid for her airfare to

Guatemala would violate the Confrontation Clause of the Sixth

Amendment.   (Id. at 3 (citing Bruton v. United States, 891 U.S.

123 (1968).)

           Federal Rule of Criminal Procedure 8(b) provides that

“[t]he indictment or information may charge 2 or more defendants

if they are alleged to have participated in the same act or

transaction, or in the same series of acts or transactions,

constituting an offense or offenses.”        Fed. R. Crim. P. 8(b).

Once defendants are indicted together, there is a strong

preference that they be tried together.        See Zafiro v. United

States, 506 U.S. 534, 537 (1993) (“There is a preference in the

federal system for joint trial of defendants who are indicted

together.”); United States v. Rusher, 966 F.2d 868, 877 (4th

Cir. 1992) (“[T]he general rule is that defendants indicted

together should be tried together for the sake of judicial

economy.” (citation omitted)).       The Supreme Court has endorsed

the notion that a joint trial typically allows “the jury [to]

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obtain[ ] a more complete view of all the acts underlying the

charges than would be possible in separate trials” and thus “to

arrive more reliably at its conclusions regarding the guilt or

innocence of a particular defendant and to assign fairly the

respective responsibilities[.]”       Buchanan v. Kentucky, 483 U.S.

402, 418 (1987).

           There are situations, however, where the interests

promoted by joint trials are outweighed by prejudice to the

defendants or the government.       Federal Rule of Criminal

Procedure 14 deals with this scenario and provides: “If the

joinder of offenses or defendants . . . appears to prejudice a

defendant or the government, the court may order separate trials

of counts, sever the defendants’ trials, or provide any other

relief justice requires.”      Fed. R. Crim. P. 14(a).      As stated by

the Supreme Court, “when defendants properly have been joined

under Rule 8(b), a district court should grant a severance under

Rule 14 only if there is a serious risk that a joint trial would

compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or

innocence.”    Zafiro, 506 U.S. at 539.      A defendant is not

entitled to severance merely because he might have a better

chance of acquittal in a separate trial.         See United States v.

Lighty, 616 F.3d 321, 348 (4th Cir. 2010).



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           In cases where the risk of prejudice is high,

severance may be necessary; nevertheless, “less drastic

measures, such as limiting instructions, often will suffice to

cure any risk of prejudice.”       Zafiro, 506 U.S. at 539; see also

United States v. Hayden, 85 F.3d 153, 160 (4th Cir. 1996) (“The

mere showing of prejudice is not enough to require severance.

Rather, tailoring of relief, if any, for any potential prejudice

resulting from a joint trial is left to the district court’s

sound discretion.” (citation omitted)).

           The question of severance often arises when a

defendant’s statement inculpates a co-defendant, as is the case

here.   A criminal defendant’s right to confrontation in the form

of cross-examination is an important trial right guaranteed by

the Confrontation Clause of the Sixth Amendment.          See Bruton,

391 U.S. at 135–36.     In Bruton, the Supreme Court held that the

admission of a non-testifying co-defendant’s confession that

implicated the defendant at a joint trial was a violation of the

Sixth Amendment, even though the jury was instructed to consider

that testimony only against the co-defendant.          391 U.S. at 126.

           The Court’s holding in Bruton, however, does not

automatically require severance in order to avoid this type of

violation of the Confrontation Clause.        In Richardson v. Marsh,

the Supreme Court held that the admission of a non-testifying

co-defendant’s confession did not violate the defendant’s rights

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under the Confrontation Clause where the confession was redacted

to eliminate not only the defendant’s name, but any reference to

her existence, and the court instructed the jury not to use the

confession in any way against the defendant.         481 U.S. 200, 211

(1987).   The Court left open the question of whether a

confession that redacted the co-defendant’s name and replaced it

with a symbol or a neutral pronoun would be admissible under

Bruton.   Id. at 211 n.5.

           The Supreme Court addressed this open question in Gray

v. Maryland, 523 U.S. 185 (1998).        In Gray, the Court held that

a statement that has been redacted to replace the co-defendants

name “with an obvious blank, the word ‘delete,’ a symbol, or

similarly notif[ies] the jury that a name has been deleted,”

such that it was still both “facially incriminating” and

“directly accusatory” falls under Bruton and is inadmissible.

523 U.S. at 195.    Fourth Circuit authority interpreting Bruton,

Richardson, and Gray makes it clear that a co-defendant’s

statements are admissible if redacted and replaced with a

neutral pronoun or phrase such as “person” or “individual” or

even “friend,” “partner,” “associate,” or “client,” provided

that such a neutral identifier does not render the statement

“directly accusatory” or “facially incriminatory.”          See, e.g.,

United States v. Akinkoye, 185 F.3d 192, 198 (4th Cir. 1999);

United States v. Cuong Gia Le, 316 F. Supp. 2d 330, 334 (E.D.

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Va. 2004).       The Fourth Circuit has also extended Richardson,

“holding that a statement redacted such that a co-defendant’s

name is replaced by ‘a symbol or neutral pronoun’ is admissible

under Bruton provided it is not facially incriminatory and thus

is admissible, ‘even though the statement’s application to [the

co-defendant] is linked up by other evidence properly admitted

against the defendant.’”         United States v. Smallwood, 307 F.

Supp. 2d 784, 789 (E.D. Va. 2004) (quoting United States v.

Vogt, 910 F.2d 1184, 1191-92 (4th Cir. 1990)).

               Here, Defendant takes issue with Verges’s proclamation

on November 5, 2011, that Defendant aided her travels to

Guatemala.       (Mot. to Sever at 3.)       This statement is clearly

incriminatory because it implicates Defendant in the

Government’s theory of the conspiracy. 2           Accordingly, the Bruton

issue in this case is whether Verges’s statement can be redacted

without violating Defendant’s Sixth Amendment rights.              See

Smallwood, 207 F. Supp. 2d at 789.

               Applying the principles outlined above, the Court

concludes that severance is not required.            First, Defendant has

failed to identify the precise declarations which she contends

are problematic under Bruton.          Instead, her motion merely

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   The Government claims that Defendant will not be prejudiced by this
statement because they intend to refute its veracity at trial. (Gov’t Opp’n
at 10.) This argument is unpersuasive. The prejudice remains irrespective
of the Government’s intention because the jury may choose to take a different
view of the evidence. Thus, despite the Government’s position otherwise,
Defendant will be prejudiced by the use of Verges’s statements at trial.

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provides that Verges “has made statements implicating

[Defendant] in her travels to Guatemala.”        (Mot. to Sever at 3.)

Such a vague argument is insufficient to warrant the relief

requested.   See United States v. Lord, No. 1:09cr159 (JCC), 2009

WL 1766605, at *2 (E.D. Va. June 19, 2009) (“[T]he Court cannot

find that prejudice exists and that severance should be granted

based on [the defendant’s] strictly hypothetical arguments which

fail both to articulate any specific instances of prejudice, and

to give the Court sufficient information to determine the

appropriate remedy.” (citations and internal quotation marks

omitted)).   In light of Defendant’s limited proffer, severance

is inappropriate.    See United States v. Han Sa Yu, No. 1:12cr280

(JCC), 2012 WL 3776486, at *3 (E.D. Va. Aug. 29, 2012) (denying

motion to sever where defendant failed “to provide specific

examples of inculpatory statements that could not be redacted so

as to avoid Bruton problems”).

           Even accepting the Government’s position that

Defendant is specifically disputing Verges’s statement “that

[Defendant] paid for airline tickets for [her] trip to

Guatemala,” severance is improper.       (Gov’t Opp’n at 8.)      This

statement can be redacted consistent with Bruton.          The

substitution of a neutral pronoun, such as “person” or “a

friend,” would appear to alleviate the prejudice.          See United

States v. Williams, 936 F.2d 698, 700 (2d Cir. 1991) (“If the

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confession . . . does not incriminate the defendant, then it may

be admitted with a proper limiting instruction even though other

evidence in the case indicates that the neutral pronoun is in

fact a reference to the defendant.”); see also United States v.

Smith, 43 F. App’x 529, 533 (4th Cir. 2002) (noting that “the

Confrontation Clause is not violated by the admission of a non-

testifying co-defendant’s confession that has been redacted to

eliminate the defendant’s name and any reference to his

existence where a limiting instruction is given, even though the

statement is incriminating to the defendant when it is linked

with other evidence introduced at trial”).

           Accordingly, the Court will deny Defendant’s motion.

Further issues regarding Bruton can be addressed at trial when

the contested statements are actually before the Court.

     B. Motion to Suppress

           Defendant next argues that her statements to law

enforcement officers on March 6, 2013, and December 2, 2013,

should be excluded because they were involuntary and given

without Miranda warnings.      (Mot. to Suppress at 2-4.)      Defendant

further contends that her December 2, 2013, statements were made

in violation of the Fifth Amendment.       (Id. at 4.)     According to

Defendant, because she invoked her right to counsel after the

March interview, law enforcement officers were precluded from



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questioning her following her arrest.        (Id.)   As explained

below, these arguments are without merit.

           “A person subjected to custodial interrogation is

entitled to the procedural safeguards prescribed by Miranda.”

United States v. Leshuk, 65 F.3d 1105, 1110 (4th Cir. 1995)

(citations omitted).     Consequently, “any statements a suspect

makes during custodial interrogation are inadmissible in the

prosecution’s case in chief unless prior Miranda warnings have

been given.”   Id.; see also Berkemer v. McCarty, 468 U.S. 420,

434-35 (1984).    A person is “in custody” for Miranda purposes

when he is formally arrested or questioned under circumstances

in which his freedom of action is curtailed “of the degree

associated with a formal arrest.”        Leshuk, 65 F.3d at 1110

(quoting Stansbury v. California, 511 U.S. 318, 322 (1994)).            To

determine whether an individual was in custody, a court must

examine all of the circumstances surrounding the interrogation,

Stansbury, 511 U.S. at 322, and determine whether “a reasonable

person [would] have felt he or she was not at liberty to

terminate the interrogation and leave,” Thompson v. Keohane, 516

U.S. 99, 112 (1995).

           With respect to the statements made on March 6, 2013,

the Court finds that Defendant was not “in custody” as required

to implicate Miranda.     Defendant spoke with the agents in her

home, and they never attempted to curtail her movements or

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actions.   In fact, the agents specifically informed Defendant

that they would leave when instructed.        As a number of courts

have concluded, these circumstances do not amount to custody.

See, e.g., United States v. Parker, 262 F.3d 415, 419 (4th Cir.

2001) (finding Miranda warnings not required where defendant was

questioned in her own home without any form of restraint, and

was never told she was not free to leave); United States v.

Barefield, 260 F. App’x 575, 575 (4th Cir. 2008) (finding

defendant was not in custody where he was never handcuffed and

repeatedly told he could leave).

           During the hearing, defense counsel argued that the

Court should find that Defendant was in custody because she did

not speak English and the agents had no way of verifying

Verges’s Spanish translations.      This argument is unpersuasive.

First, the record is devoid of any proof that Verges’s

translations were incorrect.      In fact, Defendant’s statements

during the interview compel the conclusion that she understood

the agent’s accusations.     Moreover, even if Verges

misrepresented the agent’s questions, the record is clear that

Defendant did not feel restrained.       She voluntarily terminated

the interview by leaving the room and telling the agents she no

longer wished to speak with them.        As such, the Court declines

to find that Defendant was in custody for purposes of Miranda.



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           Defendant’s statements on December 2, 2013, are

likewise admissible.     Although it is undisputed that Defendant

was in custody at this point, the record provides that she

validly waived her Miranda rights prior to questioning.           The

issue of whether an accused has properly waived their Miranda

rights involves two distinct inquiries: (1) whether the

relinquishment of the right was “voluntary in the sense that it

was the product of a free and deliberate choice rather than

intimidation, coercion, or deception”; and (2) whether the

waiver was made “with a full awareness of both the nature of the

right being abandoned and the consequences of the decision to

abandon it.”   Moran v. Burbine, 475 U.S. 412, 421 (1986).          “Once

it is determined that a suspect’s decision not to rely on his

rights was uncoerced, that he at all times knew he could stand

mute and request a lawyer, and that he was aware of the State’s

intention to use his statements to secure a conviction, the

analysis is complete and the waiver is valid as a matter of

law.”   Id. at 422-23.    Such is the case here.      At the time of

her arrest, law enforcement agents advised Defendant of her

rights in her native language, and she knowingly and voluntarily

relinquished those rights both in oral and written form.           (See

Gov’t Opp’n, Ex. 1.)     At no point did Defendant object to the

waiver.   Moreover, during the entire interview process,

Defendant was awake, alert, and engaged.        The testimony is

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uniform in suggesting that Defendant understood what was

happening to her.    See United States v. Santos, No. RBD–13–321,

2013 WL 5604434, at *3 (D. Md. Oct. 11, 2013); United States v.

Moreno, 122 F. Supp. 2d 679, 681 (E.D. Va. 2000).

           Defendant’s argument that her statements were

involuntary also fails when studied under the appropriate

constitutional standards.      (Mot. to Suppress at 3.)      “A

statement is involuntary under the Fifth Amendment only if it is

involuntary within the meaning of the Due Process Clause.”

United States v. Braxton, 112 F.3d 777, 780 (4th Cir. 1997).

The test for determining if a statement is involuntary under the

Due Process Clause “is whether the confession was extracted by

any sort of threats or violence, [or] obtained by any direct or

implied promises, however slight, [or] by the exertion of any

improper influence.”     Id. (citations and internal quotation

marks omitted).    The Supreme Court has held that “coercive

police activity is a necessary predicate to the finding that a

confession is not voluntary[.]”       Colorado v. Connelly, 479 U.S.

157, 167 (1986).

           “The mere existence of threats, violence, implied

promises, improper influence, or other coercive police activity,

however, does not automatically render a confession

involuntary.”   Braxton, 112 F.3d at 780.       Instead, the

dispositive factor in a voluntariness inquiry “is whether the

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defendant’s will has been ‘overborne’ or his ‘capacity for self-

determination critically impaired.’”       United States v. Pelton,

835 F.2d 1067, 1071-72 (4th Cir. 1987) (quoting Schneckloth v.

Bustamonte, 412 U.S. 218, 225 (1973)).        In assessing whether a

statement is voluntary, a court must examine the “totality of

the circumstances, including the characteristics of the

defendant, the setting of the interview, and the details of the

interrogation.”    Pelton, 835 F.2d at 1071.

           Based upon the evidence presented, the Court finds

that Defendant’s statements were voluntary.         Courts have found a

defendant’s statements involuntary where the police held a gun

to the suspect’s head, threatened to turn the suspect over to an

angry mob, or deprived the suspect of adequate food and sleep.

See Beecher v. Alabama, 389 U.S. 35, 38 (1967); Payne v.

Arkansas, 356 U.S. 560, 564–67 (1958); Brooks v. Florida, 389

U.S. 413, 414–15 (1967).     The record is devoid of any such facts

in this case.   Rather, the evidence demonstrates that Defendant

is sufficiently capable of understanding her rights, and,

despite this awareness, she chose to freely speak with law

enforcement.    There is no indication that Defendant was

subjected to physical conditions that caused discomfort or

intimidation.   In short, nothing remotely suggests that

Defendant’s will was overborne and her capacity for self-

determination critically impaired.       See United States v.

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Johnson, 576 F. Supp. 2d 758, 763 (W.D. Va. 2008) (finding

defendant’s statements voluntary where the record lacked

evidence of police coercion).

           Finally, the Supreme Court’s decision in Maryland v.

Shatzer, 559 U.S. 98 (2010), disposes of Defendant’s Fifth

Amendment argument.    (Mot. to Suppress at 4.)       In Edwards v.

Arizona, the Supreme Court held that “when an accused has

invoked his [Fifth Amendment] right to have counsel present

during custodial interrogation, a valid waiver of that right

cannot be established by showing only that he responded to

further police-initiated custodial interrogation even if he had

been advised of his rights.”      451 U.S. 477, 484 (1981).

According to Edwards, after an accused has invoked his right to

counsel, he cannot be “subject to further interrogation by the

authorities until counsel has been made available to him, unless

the accused himself initiates further communication, exchanges,

or conversations with the police.”       Id. at 484-85.     If a suspect

does invoke his right to counsel during custodial interrogation,

a presumption arises that any subsequent waiver is involuntary.

Arizona v. Roberson, 486 U.S. 675, 681 (1988).

           In Shatzer, the Supreme Court considered whether a

break in custody ends the presumption of involuntariness

established in Edwards.     559 U.S. at 110.     After considering the

costs and benefits of the Edwards rule, the Supreme Court

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concluded that a break in custody sufficient to eliminate the

Edwards presumption is fourteen days.        Id.   In explaining how

the new bright-line rule would work, the Court stated:

           In every case involving Edwards, the courts
           must determine whether the suspect was in
           custody when he requested counsel and when
           he later made the statements he seeks to
           suppress.   Now, in cases where there is an
           alleged break in custody, they simply have
           to repeat the inquiry for the time between
           the     initial     invocation      and     the
           reinterrogation.   In    most   cases,     that
           determination will be easy.    And when it is
           determined   that   the   defendant    pleading
           Edwards has been out of custody for two
           weeks before the contested interrogation,
           the court is spared the fact-intensive
           inquiry into whether he ever, anywhere,
           asserted his Miranda right to counsel.

Id. at 111-12.

           Accordingly, the Court has determined that Edwards

does not apply if there has been a break in custody lasting for

a period of fourteen days or more.       See United States v. Guzman,

603 F.3d 99, 105 (1st Cir. 2010) (“In Shatzer, the Supreme Court

established a bright-line rule that if a suspect who has invoked

his right to have counsel present during a custodial

interrogation is released from police custody for a period of

fourteen days before being questioned again in custody, then the

Edwards [rule] . . . will not apply.”).

           In this case, even assuming Defendant was in custody

and sufficiently invoked her right to counsel on March 6, 2013,


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there was a lapse of nearly ten months prior to the next

custodial interrogation.     This interval far exceeds the

fourteen-day period set out in Shatzer.        Accordingly, law

enforcement did not run afoul of the Fifth Amendment or Edwards

when, on December 2, 2013, they advised Defendant of her rights

and conducted a custodial interrogation without counsel.           See

Guzman, 603 F.3d at 105-06 (concluding that a lapse of four

months between when defendant originally invoked his right to

counsel and the second interrogation was sufficient to trigger

Shatzer’s break-in-custody exception to Edwards); Tineo v.

Heath, No. CV–09–3357 (SJF), 2012 WL 4328361, at *13 (E.D.N.Y.

Sept. 19, 2012) (“Although petitioner was in custody at the time

that he had previously invoked his Fifth Amendment right to

counsel with respect to the unrelated pending charges against

him, there was a break in custody of more than four (4) months

between that prior interrogation and his interrogation relating

to the charges under lying his judgment of conviction in this

case, during which he made the statements to law enforcement

officers that he seeks to suppress.       Thus, the Edwards rule does

not mandate suppression of his statements.”).




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                            III. Conclusion

           The Court’s rulings of January 31, 2014, were

consistent with and based upon the foregoing analysis.



                                                 /s/
February 6, 2014                       James C. Cacheris
Alexandria, Virginia          UNITED STATES DISTRICT COURT JUDGE




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